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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


UNITED STATES OF AMERICA                               :
                                                       :
       v.                                              :
                                                       :       Criminal Indictment No.
TODD CHRISLEY,                                         :
JULIE CHRISLEY, and                                    :       1:19-CR-297-ELR-JSA
PETER TARANTINO,                                       :
                                                       :
       Defendants.                                     :


DEFENDANTS TODD CHRISLEY AND JULIE CHRISLEY’S MOTION TO
SUPPRESS EVIDENCE SEIZED PURSUANT TO SEARCH WARRANTS
  EXECUTED AT 4125 WELCOME ALL ROAD AND 1800 CENTURY
   BOULEVARD NE AND MEMORANDUM OF LAW IN SUPPORT


       COME NOW Defendants, Todd Chrisley and Julie Chrisley, by and

through their undersigned counsel, and, pursuant to Federal Rules of

Criminal Procedure 12(b) and 41(h), file this Motion to Suppress Evidence

Seized pursuant to two search warrants executed on February 7, 2018.1 The

warrants violated the Fourth Amendment to the Constitution and accordingly

all evidence derived from the searches should be suppressed. Additionally,


1 There were two separate search warrants applied for and authorized for two locations. Both were
issued on the basis of identical applications and affidavits. The search warrant for 4125 Welcome All
Road is attached to this Motion as EXHIBIT A. The application and affidavit for this search warrant is
attached as EXHIBIT B. The search warrant for 1800 Century Boulevard NE is attached to this Motion as
EXHIBIT C. The application and affidavit for this search warrant is attached as EXHIBIT D.
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pursuant to Rule 41(g), Fed. R. Crim. P., the property of the Defendants

seized pursuant to these unlawful warrants should be returned to the

Defendants. In support of this request, Defendants respectfully show this

Court the following:

                            I. INTRODUCTION

      On February 1, 2018, IRS Special Agent Larry Arrow presented

applications and affidavits seeking the issuance of two search warrants. The

agent sought search warrants for the search and seizure of property in the

custody of the Georgia Department of Revenue being stored at two locations:

a storage facility located at 4125 Welcome All Road, Atlanta, Georgia 30349

and Georgia Department of Revenue Headquarters located at 1800 Century

Boulevard, NE, Atlanta, Georgia 30345. Stored at both locations was the

property of Todd and Julie Chrisley and their businesses. The Defendants’

property had been previously seized by the Georgia Department of Revenue

(GDOR) from Printer & Parts Warehouse located in Duluth, Georgia. Once

seized by GDOR it had been relocated to the Welcome All Road and Century

Boulevard locations.

      The subject search warrants were issued by United States Magistrate

Judge Catherine M. Salinas on February 1, 2018 to be executed on or before

February 14, 2018.
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      Federal agents executed both warrants on February 7, 2018, and

seized all of the property set forth in inventories filed with the Court. See

EXHIBIT E.

      Defendants respectfully show that the warrants obtained from

Magistrate Judge Salinas by Special Agent Arrow are the product of an initial

illegal seizure and search by GDOR in violation of the Defendants’ rights

under the Fourth Amendment to the United States Constitution. As such,

the fruits of the wrongful searches should be suppressed.             Defendants

respectfully submit that this Court should issue an Order suppressing any

and all evidence obtained as a result of the two searches and seizures. At

a minimum, this Court should order a hearing into the facts surrounding the

seizure of said property.

                         II. STATEMENT OF FACTS

                            A. The GDOR Seizure.

      Sometime prior to 2017, GDOR began an investigation into Todd and

Julie Chrisley as a result of their failure to file state tax returns and pay state

taxes during years that they potentially lived in the State of Georgia. On

February 27, 2017 and March 2, 2017, the GDOR Commissioner issued tax




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executions against the Chrisleys.2 Almost immediately, on March 7, 2017,

GDOR seized significant amounts of the Chrisleys’ property which was

located in a warehouse used by the Chrisleys located at 3270 Summit Ridge

Parkway, No. 110, Duluth, Gwinnett County, Georgia 30096. GDOR then

relocated the property seized to its own warehouse/storage facility located

at 4125 Welcome All Road, Atlanta, Georgia and certain of the property to

its headquarters located at 1800 Century Center Boulevard, Atlanta,

Georgia.

                III. ARGUMENT AND CITATION OF AUTHORITIES

               A. GDOR seizure was wrongful and in violation of
                   the Chrisleys’ Fourth Amendment rights

        The seizure of the Chrisleys’ property by the GDOR was based on its

assessment of taxes under the state “jeopardy assessment” power. Georgia

law allows GDOR to “make an arbitrary assessment” of tax and “proceed

under the assessment to collect the tax” “[i]f the commissioner reasonably

finds that a taxpayer gives evidence of intention to leave the state, to remove

his property from the state” or do other acts “tending to prejudice or render

wholly or partly ineffective proceedings to…collect any state tax.”3 Official


2 Copies of the State Tax Executions are collectively attached hereto as EXHIBIT F.
3 In March 2017 the Chrisleys were already residing in Tennessee. Further, the seizure of property such
as filing cabinets, files and financial records cannot be argued to have been done to collect revenue for
the state, as they have no value.
                                                                                                            4
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Code of Georgia Annotated Section 48-2-51 (hereinafter O.C.G.A.). Here,

no such factual determination was made, and, therefore, the seizure was

improper.

        Pretermitting whether the assessment was proper in this case, that

assessment, by itself, did not give GDOR the authority to seize the subject

property. The jeopardy assessment permitted the State to assess a tax.

However, to authorize a legal seizure of property in satisfaction of that tax

obligation, GDOR had to follow additional requirements of Georgia law. Its

failure to do so, rendered the seizure of the Defendants’ property illegal.

        To collect the tax, GDOR chose to issue an execution, a way of

collecting on a lien.             See Black v. Black, 245 Ga. 281, 282 (1980)

(“executions are issued for the purpose of authorizing sheriffs…to proceed

with levy with real and personal property.”). In 20174, Georgia law allowed

the commissioner to “issue an execution for the collection of any tax,” which

a sheriff or other authorized official could enforce the same as any other writ

of execution. See O.C.G.A. §48-3-1 (2017). However, a tax lien for income

taxes5, which the execution enforces, did not arise or attach to the taxpayer’s


4  Georgia law governing tax executions underwent a significant overhaul in 2017, with multiple new
provisions and changes taking effect in 2018. As the collection activity here occurred in 2017, the law as
it then stood applies.
5 The State execution makes clear that the assessment was made for Todd Chrisley and Julie Chrisley’s

alleged failure to pay personal income taxes. As such, the provisions of O.C.G.A. §48-2-56(e) apply.
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property until “the time a tax execution for [those] taxes is entered upon the

general execution docket.” O.C.G.A. §48-2-56(e) (2017). The “general

execution docket” is a registry Georgia law requires all Superior Courts to

maintain. See O.C.G.A. §9-12-81(a). Accordingly, until the execution is filed

on the general docket of the appropriate Superior Court, no lien exists. See

Maria v. Khiani Alpharetta, LLC, No. 1:13-CV-01415-RWS, 2015 WL

1569185, at *2 (N.D. Ga. Apr. 7, 2015) (“under Georgia Law, to establish a

lien on Defendant’s property plaintiffs may record the writ of execution on the

general execution docket in the appropriate county.”). The subject writs of

execution were never filed in Gwinnett County, where the property was

seized. Therefore, GDOR had no valid lien.

      Because GDOR had no lien, it could not seize the Chrisleys’ property.

Cf Hopson v. Bank of N. Ga., 258 Ga. App. 360, 362 (2002) (concluding trial

court did not err by granting petition to foreclose where creditor had an

interest in the property); Murphey v. Smith, 85 S.E. 791, 792 (Ga. App. 1915)

(holding that because the plaintiff did not comply with all filing requirements,

“the levy [was] proceeding illegally”). Here, GDOR never filed the execution

on the general execution docket in the county where the property was

located. Therefore, GDOR never obtained a lien on the Chrisleys’ property.

Without a valid lien, GDOR had no interest in the property and no right to
                                                                              6
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seize it.   Thus, the seizure of the Chrisleys’ property was unlawful.

Accordingly, GDOR’s possession of the property when the IRS executed the

search warrant on February 7, 2018, was unlawful.

  B. The GDOR seizure constituted a Fourth Amendment violation.

      Until a proper execution in support of a jeopardy assessment is filed

on the general docket of the Superior Court, no lien exists proffering rights

upon GDOR.      As no lien was ever filed and recorded on the general

execution docket in the appropriate county, GDOR had no lien and could not

seize the property. Having not complied with the law, the seizure was in

violation of Georgia law.

      The GDOR seizure of the Defendants’ property was unconstitutional.

Clearly, the jeopardy assessment was a “seizure” within the context of the

Fourth Amendment. See United States v. Jacobsen, 466 U.S. 109, 113

(1984); Andrews v. Crump, 984 F.Supp. 393, 410 (W.D. NC 1996)

(concluding merely applying a tax lien on the plaintiffs’ property was a

seizure)). Furthermore, no other legal basis existed to justify the taking of

the Chrisleys’ property.

    C. The evidence obtained through the execution of the subject
            federal search warrants should be excluded.



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      Once established that the property’s seizure by the State was

unconstitutional, any such property or evidence is subject to the exclusionary

rule. The exclusionary rule should be applied to the category of cases where

it will “result in appreciable deterrence.” United States v. Janis, 428 U.S.

433, 454 (1976).

      The 11th Circuit has held that for the exclusionary rule to apply, there

must be three elements. First, there must be misconduct by the police or by

adjuncts to the law enforcement team. Second, application of the rule must

result in appreciable deterrence of that misconduct. Finally, the benefits of

the rule’s application must not outweigh its costs. United States v. Herring,

492 F.3d 1212, 1217 (11th Cir. 2007). In applying these factors, it is clear

that the exclusionary rule should apply here. The misconduct was twofold –

the decision to seize the Chrisleys’ property without following the law.

Second, having seized and examined the Defendants’ property and having

located what it believed could be information helpful to IRS special agents

and federal prosecutors, state GDOR personnel notified Agent Arrow, the

search warrant application affiant, of the existence of this evidence. Applying

the exclusionary rule to the evidence seized by GDOR and later seized by

federal agents in this case would deter law enforcement from acting in


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violation of the law. And, the cost of excluding the evidence seized as a

result is clearly outweighed by the deterrent effect on police misconduct.

    D. The federal search warrants are fruit of the poisonous tree

      Federal authorities cannot benefit from the illegal seizure by the state

in violation of the Chrisleys’ Fourth Amendment rights.          The state’s

misconduct is clearly imputable to the federal agents who obtained the

subject search warrants.    The exclusionary rule encompasses both the

“primary evidence obtained as a direct result of an illegal search or seizure”

and, “evidence later discovered and found to be derivative of an illegality,”

the so-called “fruit of the poisonous tree.” Segura v. United States, 468 U.S.

796, 804 (1984); Wong Sun v. United States, 371 U.S. 471 (1963).

      In determining whether the initial illegal seizure has tainted the

subsequently discovered evidence, the Court should look to three factors.

First, the “temporal proximity” between the unconstitutional conduct and the

discovery of the evidence to determine how closely the discovery of evidence

followed the unconstitutional search.    Second, the Court considers “the

presence of intervening circumstances.” Third, and particularly significant,

the Court examines “the purpose and flagrancy of the official misconduct.”

Brown v. Illinois, 422 U.S. 590, 603-604 (1975).


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      As to the first element, the amount of time that passed between the

illegal conduct and the discovery of the evidence, while almost a year passed

between the initial seizure and the subsequent federal seizure, federal

investigators were contacted by GDOR about the potential evidence of the

seizure.   Furthermore, federal investigators and state investigators met

multiple times after the state’s seizure but before the federal warrant to

discuss the Chrisley investigations. This included correspondence from

GDOR to the federal investigators requesting a “parallel investigation.”

      As to the second element, whether the initial illegal seizure contributed

to the discovery of the tainted evidence, the evidence seized by federal

agents was the direct result of the illegal taking by the state. Absolute

evidence of this is set forth in the search warrant affidavit which states facts

that could only have been obtained from the seizure and search by GDOR.

In the Arrow affidavit attached hereto as EXHIBITS B and D, at page 13 the

affiant states:

      “I have learned that the Georgia Department of Revenue has had
      an investigation into the Chrisleys as a result of their failure to file
      state tax returns during years that they potentially lived in the
      State of Georgia. During the course of the state tax investigation,
      the Georgia Commissioner of Revenue obtained a jeopardy
      assessment against Michael Todd Chrisley for tax year 2009.
      Revenue agents also obtained a lien against Chrisley’s property.
      …the state revenue officials learned that the Chrisleys had
      stored personal belongings (the Subject Items) in a 10,000 sq.ft.
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      storage facility rented from a printing business in Suwanee,
      Georgia. In July 2017 (sic), the Georgia Commissioner of
      Revenue issued a levy, pursuant to O.C.G.A. § 48-2-55, against
      the Subject Items…in July 2017 (sic), Georgia Department of
      Revenue officials travelled to the Suwanee storage facility where
      they executed the levy and seized the Subject Items.

      Pursuant to their agency’s policy, Georgia Department of
      Revenue officials inventoried the Subject Items…during the
      course of the inventory, the officials determined that there were
      a number of financial records within the Subject Items, to include,
      but limited to, boxes of the following types of financial records:
      bank records; mortgage documents; personal and business
      checkbooks; ledger books; receipt books; insurance records;
      records showing Chrisley’s and his wife’s income;
      correspondence between Chrisley and his accountant covering
      tax years 2006-2013; and individual and business tax records.
      Additionally, the Subject Items included a number of electronic
      devices and storage mediums…the Subject Items remain at the
      locations specified in Attachment A.”

      It is clear from the above that the knowledge of the “Subject Items”

illegally seized by GDOR came to federal authorities directly from the GDOR

wrongdoers. The facts contained in the affidavit came from GDOR officials.

But for the communication of this information to federal authorities, the

existence of the “Subject Items” would never have been known to federal

authorities.

      The third element, “the purpose and flagrancy of the official

misconduct”, is likewise a factor supporting suppression. GDOR officials,

believed to be Katy Colvin and Josh Waites, targeted Todd Chrisley and Julie

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Chrisley for investigation and prosecution both by the state and federal

authorities. As previously stated, GDOR representatives contacted federal

investigators, met multiple times with them both before and after the seizure

but before the federal warrant, to coordinate “parallel investigations.” If the

evidence is not suppressed, there is no prohibition on state agencies acting

improperly and providing federal investigators with illegally seized evidence

and allowing federal investigators to “cure” the illegal seizure by obtaining

their own warrant. See United States v. Cordero-Rosario, 252 F.Supp. 3d

779 (D. PR 2017) (Evidence otherwise properly seized by federal authorities

was nonetheless tainted by the initial illegal seizure by local authorities).

 IV. THE CHRISLEYS’ PROPERTY THAT WAS UNLAWFULLY SEIZED
          MUST BE RETURNED PURSUANT TO RULE 41(G)

      Rule 41(g), Federal Rules of Criminal Procedure, provides, in pertinent

part, that “[a] person aggrieved by an unlawful search and seizure of property

or the deprivation of property may move for the property’s return.” The initial

seizure and search of the Chrisleys’ property executed by GDOR in 2017

was an “unlawful search and seizure” as it was conducted in violation of

Georgia law.     This illegal search and seizure was exploited by law

enforcement directly resulting in the seizure of the Defendants’ property by

federal agents. Therefore, the items seized in this search and seizure were

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seized in an “unlawful search and seizure”, and should be returned to the

Defendants.6



       WHEREFORE, Defendants respectfully pray that the Court inquire into

the facts set forth in this Motion and issue an Order suppressing any and all

evidence obtained from the subject search warrants and all fruits derived

therefrom. At a minimum, the Court should order an evidentiary hearing to

inquire into the issues set forth above.

                                               Respectfully submitted,


                                               /s/ Bruce H. Morris
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6 Because the evidence was not properly seized under the search warrants – pretermitting the questions
of the validity of the search warrants in the larger sense – and because none of the property is
contraband, illegal or otherwise forfeitable, the property should be returned to the Defendants
immediately.
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                       CERTIFICATE OF SERVICE


     I hereby certify that I have this day filed the foregoing “DEFENDANTS

TODD CHRISLEY AND JULIE CHRISLEY’S MOTION TO SUPPRESS

EVIDENCE SEIZED PURSUANT TO SEARCH WARRANTS EXECUTED

AT 4125 WELCOME ALL ROAD AND 1800 CENTURY BOULEVARD NE

AND MEMORANDUM OF LAW IN SUPPORT” through this District’s ECF

system, which will automatically serve all counsel of record.



     This 20th day of December, 2019.



                                   /s/ Bruce H. Morris
                                   Bruce H. Morris




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